Case 9:18-cv-80070-DMM Document 10 Entered on FLSD Docket 08/20/2018 Page 1 of 7


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             Case No. 18-80070-CV-MIDDLEBROOKS

  JOYCE PALMER,

         Plaintiff,

  v.

  TRACTOR SUPPLY COMPANY,

         Defendant,

  _______________________________/

                       ORDER SETTING TRIAL AND PRETRIAL SCHEDULE
                           AND REFERRING CASE TO MEDIATION

         THIS CAUSE is before the Court sua sponte. Purusant to S.D. Fla. L. R. 16.1(b), the

  Court ORDERS the following:

                 1.      Trial: This case is set for trial before the undersigned during the two-

  week trial period commencing April 15, 2019 at 9:00 a.m., in West Palm Beach, Florida, with a

  calendar call set for April 10, 2019, at 1:15 p.m. This Court hereby advises the parties of the

  opportunity to consent to a specially set trial before a U.S. Magistrate Judge pursuant to 28

  U.S.C. § 636(c). A fully executed consent form should be filed within 30 days from this Order’s

  date if the parties wish to consent to trial before a U.S. Magistrate Judge.

         2.      Pretrial Discovery, Rule 26(f) Conference and Discovery Plan:               Pretrial

  discovery shall be conducted in accordance with S.D. Fla. L.R. 16.1 and 26.1, and the Federal

  Rules of Civil Procedure. The parties are directed to meet and confer pursuant to Federal Rule of

  Civil Procedure 26(f). The parties must consider the nature and basis of their claims and

  defenses and the possibilities for promptly settling or resolving the case; make or arrange for the

  disclosures required by Rule 26(a)(1); discuss any issues about preserving discoverable
Case 9:18-cv-80070-DMM Document 10 Entered on FLSD Docket 08/20/2018 Page 2 of 7


  information; and develop a proposed discovery plan. The parties’ joint discovery plan must be

  filed by the deadline set forth in paragraph 10 this Order and include:

  (1)    an estimated valuation of the case from the perspective of Plaintiff and Defendant;
  (2)    the date for exchanging initial disclosures pursuant to Rule 26(a)(1);
  (3)    the subjects on which discovery may be needed;
  (4)    whether the Parties can agree to limit discovery on particular issues through stipulation;
  (5)    what document discovery is needed;
  (6)    whether discovery should be conducted in phases;
  (7)    whether the Parties expect to have disclosure, discovery, or preservation of electronically
         stored information, and if so, explain:
         (a) the main information and documents sought;
         (b) the expected costs of e-discovery; and
         (c) whether alternatives to e-discovery are possible.
  (8)    what individuals each side intends to depose;
  (9)    any issues about claims of privilege or of protection as trial-preparation materials,
         including—if the parties agree on a procedure to assert these claims after production—
         whether to ask the court to include their agreement in an order under Federal Rule of
         Evidence 502;
  (10)   what changes should be made in the limitations on discovery imposed by the Federal
         Rules of Civil Procedure or the Local Rules; and
  (11)   whether early mediation or a settlement conference with a Magistrate Judge prior to the
         close of discovery would be helpful.

         No pretrial conference shall be held in this action, unless the parties so request or the

  Court determines, sua sponte, that a pretrial conference is necessary.             Should a pretrial

  conference be set, the deadlines set forth in this Order shall remain unaltered.

         3.      Pretrial Stipulation: Counsel must meet at least 45 days prior to the beginning

  of the trial calendar to confer on the preparation of a Joint Pretrial Stipulation. The Joint Pretrial

  Stipulation shall be filed by the date set forth below and shall conform to S.D. Fla. L.R. 16.1(e).

  The Court will not accept unilateral pretrial stipulations, and will strike sua sponte any such

  submissions.    Should any of the parties fail to cooperate in preparing the Joint Pretrial

  Stipulation, all other parties shall file a certification with the Court stating the circumstances.

  Upon receipt of such certification, the Court will issue an order requiring the non-cooperating

  party or parties to show cause why such party or parties (and their respective attorneys) should


                                                        2
Case 9:18-cv-80070-DMM Document 10 Entered on FLSD Docket 08/20/2018 Page 3 of 7


  not be held in contempt for failure to comply with the Court’s order. The pretrial disclosures and

  objections required under Fed. R. Civ. P. 26(a)(3) should be served, but not filed with the Clerk’s

  Office, as the same information is required to be attached to the parties’ Joint Pretrial Stipulation.

         4.       Cases Tried Before A Jury: In cases tried before a jury, at least ONE WEEK

  prior to the beginning of the trial calendar, the parties shall submit A SINGLE JOINT SET of

  proposed jury instructions and verdict form, though the parties need not agree on the proposed

  language of each instruction or question on the verdict form. Where the parties do agree on a

  proposed instruction or question, that instruction or question shall be set forth in Times New

  Roman 14 point typeface. Instructions and questions proposed only by the plaintiff(s) to which

  the defendant(s) object shall be italicized.       Instructions and questions proposed only by

  defendant(s) to which plaintiff(s) object shall be bold-faced. Each jury instruction shall be typed

  on a separate page and, except for Eleventh Circuit Pattern instructions clearly identified as such,

  must be supported by citations to authority. In preparing the requested jury instructions, the

  parties shall use as a guide the Pattern Jury Instructions for civil cases approved by the Eleventh

  Circuit, including the directions to counsel contained therein. A copy of the proposed jury

  instructions and verdict form shall be sent in Word or WordPerfect format to:

  middlebrooks@flsd.uscourts.gov.

         5.       Cases Tried Before The Court: In cases tried before the Court, at least ONE

  WEEK prior to the beginning of the trial calendar, a copy of the proposed Findings of Fact and

  Conclusions     of   Law     shall    be    sent   in       Word   or   WordPerfect     format     to:

  middlebrooks@flsd.uscourts.gov. Proposed Conclusions of Law must be supported by citations

  to authority.

         6.       Exhibits: All exhibits must be pre-marked. A typewritten exhibit list setting

  forth the number, or letter, and description of each exhibit must be submitted at the time of trial.

                                                          3
Case 9:18-cv-80070-DMM Document 10 Entered on FLSD Docket 08/20/2018 Page 4 of 7


  The parties shall submit said exhibit list on Form AO 187, which is available from the Clerk’s

  office.

            7.     Motions to Continue Trial: A Motion to Continue Trial shall not stay the

  requirement for the filing of a Pretrial Stipulation and, unless an emergency situation arises, such

  Motion will not be considered unless it is filed at least 20 days before the date on which the trial

  calendar is scheduled to commence.

            8.     Pretrial Motions: Any party filing a pretrial motion shall submit a proposed

  order granting the motion.

            9.    Non-compliance With This Order: Non-compliance with any provision of this

  Order may subject the offending party to sanctions or dismissal. It is the duty of all counsel to

  enforce the timetable set forth herein in order to ensure an expeditious resolution of this cause.

            10.    Pretrial Schedule: The parties shall adhere to the following schedule, which

  shall not be modified absent compelling circumstances. Any motions to modify this schedule

  shall be directed to the attention of the undersigned.

            August 31, 2018      Discovery Plan shall be filed. See Fed. R. Civ. P. 26(f)(3).

            October 1, 2018      Joinder of Additional Parties and Amend Pleadings.

            October 22, 2018     Any motions for class certification shall be filed.

            November 5, 2018     Plaintiff shall provide opposing counsel with a written list with the

                                 names and addresses of all expert witnesses intended to be called

                                 at trial and only those expert witnesses listed shall be permitted to

                                 testify. Plaintiff shall also furnish opposing counsel with expert

                                 reports or summaries of its expert witnesses’ anticipated testimony

                                 in accordance with Fed. R. Civ. P. 26(a)(2). Within the 30 day

                                 period following this disclosure, Plaintiff shall make its experts

                                                           4
Case 9:18-cv-80070-DMM Document 10 Entered on FLSD Docket 08/20/2018 Page 5 of 7


                               available for deposition by Defendant. The experts’ deposition

                               may be conducted without further Court order.

        December 3, 2018       Defendant shall provide opposing counsel with a written list with

                               the names and addresses of all expert witnesses intended to be

                               called at trial and only those expert witnesses listed shall be

                               permitted to testify. Defendant shall also furnish opposing counsel

                               with expert reports or summaries of its expert witnesses’

                               anticipated testimony in accordance with Fed. R. Civ. P. 26(a)(2).

                               Within the 30 day period following this disclosure, Defendant shall

                               make its experts available for deposition by Plaintiff. The experts’

                               deposition may be conducted without further Court order.

                        Note: The above provisions pertaining to expert witnesses do not apply

                               to treating physicians, psychologists or other health providers.

        December 31, 2018      Parties shall furnish opposing counsel with a written list containing

                               the names and addresses of all witnesses intended to be called at

                               trial and only those witnesses listed shall be permitted to testify.

        January 14, 2019       All discovery shall be completed.

        February 4, 2019       All Pretrial Motions, including summary judgment motions and

                               Daubert motions, and motions in limine shall be filed.

        March 18, 2019         Joint Pretrial Stipulation shall be filed. Designations of deposition

                               testimony shall be made.

        April 1, 2019          Objections to designations of deposition testimony shall be filed.

                               Late designations shall not be admissible absent exigent

                               circumstances.

                                                      5
Case 9:18-cv-80070-DMM Document 10 Entered on FLSD Docket 08/20/2018 Page 6 of 7


         April 8, 2019           Jury Instructions or Proposed Findings of Fact and Conclusions of

                                 Law shall be filed.

         April 10, 2019          Calendar Call.

         11.     Order of Referral to Mediation/Settlement Conference: Pursuant to Local

  Rule 16.2, this case is referred to mediation as follows:

         a.      All parties must complete mediation or a settlement conference at least 60 days

  before the scheduled trial date.

         b.      The parties may request a settlement conference before Magistrate Judge Dave

  Lee Brannon in lieu of mediation with a certified mediator. Such conference will satisfy the

  requirement of court-ordered mediation, assuming good faith participation by the parties. To

  make the request, a designated party should contact Judge Brannon’s Chambers (561-803-3470)

  within 60 days of this Order’s date with proposed conference dates. Thereafter, an order will

  issue setting forth the date, time, place, and procedures for the settlement conference.

         c.      Otherwise, Plaintiff’s counsel, or other designated counsel, shall schedule a

  mediation conference. The parties are encouraged to avail themselves of the services of any

  mediator on the List of Certified Mediators, maintained in the office of the Clerk of the Court,

  but may select any other mediator. The parties shall agree upon a mediator and file a Notice of

  Mediator Selection within 14 days of this Order. If there is no agreement, lead counsel shall

  promptly file a Request for Clerk to Appoint Mediator. The Clerk of the Court shall then

  designate, on a blind rotation basis, a mediator from the List of Certified Mediators. If the

  parties cannot mutually agree to a place, date, and time for the mediation, they may move the

  Court for an order dictating the place, date, and time.

         d.      The appearance of counsel and each party or representatives of each party with

  full authority to enter into a full and complete compromise and settlement is mandatory. If

                                                       6
Case 9:18-cv-80070-DMM Document 10 Entered on FLSD Docket 08/20/2018 Page 7 of 7


  insurance is involved, an adjuster with authority to settle up to the policy limits or the most

  recent demand, whichever is lower, shall attend.

         e.       The Court may impose sanctions against parties or counsel who do not comply

  with the attendance or settlement authority requirements. The mediator shall report non-

  attendance and may recommend imposition of sanctions by the Court for non-attendance.

         f.       If the parties elect to proceed to mediation but no complete settlement is reached,

  they may move for a settlement conference before the undersigned later in the proceedings.

         12.      Settlement: If the case is settled, counsel shall promptly inform the Court by

  calling the undersigned’s chambers at (561) 514-3720 and, within 10 days of notification of

  settlement to the Court, submit an appropriate Motion and proposed order for dismissal, pursuant

  to Federal Rule of Civil Procedure 41(a). The parties shall attend all hearings and abide by all

  time requirements unless and until an order of dismissal is filed.

         DONE AND ORDERED in Chambers in West Palm Beach, Florida on this 17th day of

  August, 2018.




                                                               Donald M. Middlebrooks
                                                               United States District Judge


  c: counsel of record




                                                       7
